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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. CR08-159-JLR
 9
                                   Plaintiff,
10
            v.                                            SUMMARY REPORT OF
11                                                        U.S. MAGISTRATE JUDGE AS
12   GUSTAVO ROJO-MELENDREZ,                              TO ALLEGED VIOLATIONS
                                                          OF SUPERVISED RELEASE
13                                 Defendant.

14

15          An evidentiary hearing on a petition for violation of supervised release in this case was

16   scheduled before the undersigned Magistrate Judge on July 6, 2011. The United States was

17   represented by Assistant United States Attorney Sarah Vogel for Karen Johnson, and the

18   defendant by Scott Engelhard. The proceedings were digitally recorded.

19          The defendant had been charged and convicted of Possession with Intent to Distribute

20   Cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C). On or about December 15,

21   2008, defendant was sentenced by the Honorable James L. Robart to a term of 19 months in

22   custody, to be followed by 3 years of supervised release.

23          The conditions of supervised release included the requirements that the defendant

24   comply with all local, state, and federal laws, and with the standard conditions. Special

25   conditions imposed included, but were not limited to, participation in a substance abuse

26   program and search.


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
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 1          In a Petition for Warrant or Summons dated June 7, 2011, U.S. Probation Officer

 2   Andrew J. Lorenzen asserted the following violations by defendant of the conditions of his

 3   supervised release:

 4          1.      Using marijuana on or before May 6, 13, 25, and June 1, 2011, in violation of

 5                  standard condition 7.

 6          2.      Using cocaine on or before May 6, 2011, in violation of standard condition 7.

 7          3.      Using oxycodone on or before June 1, 20011, in violation of standard condition

 8                  7.

 9          4.      Failure to pay Special Assessment as directed, in violation of the standard

10                  condition.

11          On June 21, 2011, defendant made his initial appearance. The defendant was advised

12   of the allegations and advised of his rights. On July 6, 2011, this matter came before the Court

13   for an evidentiary hearing. Defendant admitted to violations 1, 2 and 4. Alleged violation 3

14   was dismissed without prejudice by the government.

15          I therefore recommend that the Court find the defendant to have violated the terms and

16   conditions of his supervised release as alleged in violations 1, 2 and 4, and that the Court

17   conduct a hearing limited to disposition. A disposition hearing on these violations has been set

18   before the Honorable James L. Robart on July 18, 2011 at 10:00 a.m.

19          Pending a final determination by the Court, the defendant has been detained.

20          DATED this 6th day of July, 2011.

21

22
                                                   A
                                                   JAMES P. DONOHUE
23                                                 United States Magistrate Judge

24   cc:    District Judge:                 Honorable James L. Robart
25          AUSA:                           Karen Johnson
            Defendant’s attorney:           Scott Engelhard
26          Probation officer:              Andrew J. Lorenzen


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
